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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
          v.                                   )      CASE NO.: 1:15-CR-1-TLS
                                               )
 ALEJANDRO DELACRUZ                            )


                ORDER ACCEPTING FINDINGS AND RECOMMENDATION

          This matter is before the Court on the Findings and Recommendation of the United States

 Magistrate Judge [ECF No. 250], filed on June 6, 2017. The Defendant has waived objection to

 the Findings and Recommendation, and the Court, being duly advised, adopts the Findings and

 Recommendation [ECF No. 250] in its entirety and accepts the recommended disposition.

 Subject to this Court’s consideration of the Plea Agreement pursuant to Federal Rule of Criminal

 Procedure 11(c), if applicable and necessary, the plea of guilty to the offense charged in Count

 Three (3) of the Indictment is hereby accepted, and the Defendant is adjudged guilty of such

 offense.

          The notice of sentencing and pre-sentence scheduling deadlines will be issued by separate

 order.

          SO ORDERED on June 28, 2017.

                                                   s/ Theresa L. Springmann
                                                   CHIEF JUDGE THERESA L. SPRINGMANN
                                                   UNITED STATES DISTRICT COURT
